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                           IN THE UNITED STATES BANI(RUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re                                                     Chapter 1l

TRIBUNE MEDIA COMPANI et al., (flkla                      Case    No. 08-13141 (BLS) (Bankr. D. Del.)
Tribune Company),
                                                          (Jointly Administered)
                       Reorganized Debtors.l

THIS DOCUMENT RELATES TO:                                  Case   No.   11   md 2296 (DLC) (S.D.N.Y.)

   TRIBI.INE COMPANY FRAUDULENT
IN Te                                                      Case   No.   12 mc 2296   (DLC) (S.D.N.Y.)
CONVEYANCE LITIGATION



MARC S. KIRSCHNER, as Litigation
Trustee for the TRIBLINE LITIGATION                        Case   No. 12 cv 2652 (DLC) (S.D.N.Y.)
TRUST,

                       Plaintiff,

  - against -

DENNIS J. FITZSIMONS, et al.,                              Hearing Date: TBD
                                                           Obj. Deadline: June 17,2019 at 4:00 p.m. (ET)
                       Defendants.

And

Matters listed on Schedule A




                               LITIGÄTION TRUSTEE'S MOTION FORAN ORDER
                                           APPROVING SETTLEMENT




         ' The Reorganized Debtors, or successors-in-interest to the Reorganized Debtors, in these chapter 1 I cases,
along with the last four digits of each entity's federal tax identification number, are: Tribune Media Company
(0355); Chicagoland Television News, LLC (1352); and Tlibune CNLBC, LLC (0347). The corporate headquafters
and the mailing address for each entity listed above is 435 Nofih Michigan Avenue, Chicago, Illinois 60611.



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         Marc S. Kirschner, as Litigation Trustee (the "Litigation Trustee")2 for the Tribune

Litigation Trust (the "Litigation Trust" or the "Trust"), by and through his undersigned counsel,

respectfully moves this Court for entry of an order, substantially in the form submitted herewith,

authorizing the Litigation Trustee to settle his claims against those defendants identified in the

schedule attached hereto as Schedule B (the "Settling Defendants"), in the above-captioned

adversary proceedings, presently pending in the United States District Court for the Southern

District of New York (the "District Coutl"), pursuant to that cerlain settlement agreement, dated

May 16, 2019 (the "SettlementAgreement"), attached               as   Exhibit 1 to the declaration of David

M. Zensky, dated May 31,2019 ("Zensk)' Decl."). In support of this motion, the Litigation

Trustee respectfully states as follows:

                                      JURISDICTION AND VENUE

         1.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. $$ 157 and

1334 and I I U.S.C. $$ 105(a) and 1142, which jurisdiction was retained pursuant to Article                   IX of

the Confirmation Order andArticle          XII of the Plan. This motion is a core proceeding under 28

U.S.C. $ 157(bX2). Venue is proper in this district pursuant to 28 U.S.C. $$ 1408 and 1409. The

statutory and legal predicates for the relief requested herein are Section 13.3.3 of the Plan and

Bankruptcy Rule 9019.

                                               BACKGROUND

         2.       On December 18, 2008, the United States Trustee for the District of Delaware,

pursuant to section 1102 of the Bankruptcy Code, appointed the Off,rcial Committee                   of


          ' Unless otherwise specif,red, all defrned terms shall have the same meaning as in the Foufth Amended Joint
Plan of Reorganization for Tribune Company and Its Subsidiaries (as modified July 19, 2012,the "Plan") [Bankr.
D.l. 12072-21, entered by an order of the Court dated July 23,2012 [Bankr. D.l. 120741(the "Confirmation Order").
All references to "Bankr. D.I." refer to the docket in the above captioned action, In re Tribune Mediq Co., No. 08-
I 3 l4l (BLS) (Bankr. D. Del.). All references to "MDL D.I." refer to the docket in the consolidated multidistrict
action, In re Tribune Co. Fraudulent Conveyance Litig., No. 1l-md-2296 (S.D.N.Y.), unless otherwise specified.

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Unsecured Creditors of Tribune Company (the "Committee") to represent the interests of all

unsecured creditors in the debtors'cases [Bankr. D.I. 101].

          3.           By orders dated October 27,2010 and November 29,2010 [Bankr. D.I. 6150,

6657, and 6658], this Court granted the Committee standing to file and prosecute certain

adversary proceedings, including the action now captioned Marc S. Kirschne4 as Litigation

Trustee   for the Tribune Litigation Trust v. Dennis J. FitzSimons,           et. al. (the "FitzSimons Action")

That action was commenced on November 1, 2010 [Bankr. D.L 6202], and sought to recover,

inter alia, damages for alleged breaches of fiduciary duty, the issuance of unlawful dividends,

unjust enrichment, preferences, and fraudulent transfers received by the Settling Defendants in

connection with the 2007 leveraged buyout (the "LBO") of the Tribune Company ("Tribune").

The operative complaint is the FifthAmended Complaint [MDL D.L2701] ("FitzSimons 5AC").

          4.       The Committee also commenced certain other actions, including actions against,

inter alia, Settling Defendants Betty Ellen Berlamino, Tom             E,.   Ehlmann, Vincent R. Giannini,

John R. Hendricks, Peter A. Knapp, Brian F. Litman, Gina              M. Mazzaferci. Pamela S. Pearson,

John F. Poelking, Irene M.F. Sewell, Patrick Shanahan, and Gary Weitman (collectively, the

"Tag-Along Defendants") seeking to recover certain incentive payments paid in connection with

the LBO (the "Tag-Along Actions").3

          5.       On March 20,2012, the JPML lifted its stay of a Conditional Transfer Order

IMDL D.1.692], thereby transferring the FitzSimons Actionto the District Court for coordinated

pretrial proceedings under 28 U.S.C. $ 1407, with the independent state law fraudulent

conveyance claims that had been commenced outside the bankruptcy court (together the




          'On May 13,2013 the United States JudicialPanelon Multidistrict Litigation (the "JPML") issued a
Conditional Transfer Order transfening the Tag-Along Actions to the District Couft for coordinated or consolidated
pretrial proceedings with the FitzSimons Action pursuant to 28 U.S.C. $ 1407. See MDL D.1.2532.

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"Creditor Complaints") by the Retiree Plaintiffsa and Noteholder Plaintiffss (together, the

"Creditor Claimants").           See   generally In re Tribune Co. Fraudulent Conveyance Litig., No. 11-

md-2296 (S.D.N.Y.).6

          6.            On July 23,2012, this Court entered an order fBankr. D.L 12074] conflrrming the

Plan. On December 37,2012, the Plan became effective.                   See   Notice of (I) Effective Date of the

Fourth Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries; and

Bar Date for Certain Claims (Dec. 31,2012) [Bankr. D.I.129391.

          7.            The Plan established the Litigation Trust and transferred to the Litigation Trust,

inter alia, all Preserved Causes of Action (as defined in the Plan), including the claims asserted

in the FitzSimons Action and Tag-Along Actions, to be prosecuted and/or settled at the direction

of the Litigation Trustee. See, e.g. Plan $$ 73.I,13,2,13.3. The Plan provides that the Litigation

Trustee must obtain "Bankruptcy Court authority" in order to settle any afflrrmative Preserved

Causes    ofAction where the "stated face amount in controversy exceeds $5,000,000." Id.                    $


13.3.3.

          8.            During the course of the Tribune bankruptcy certain of the Settling Defendants

filed proofs of claim against Tribune or its subsidiaries (together the "D&O Tribune Claims")

and liability,     if   any, on such claims was assigned to the Litigation Trust under the           Plan. EGI-

TRB also filed claims to collect on a subordinated note issued in connection with the LBO (the

"EGI-TRB Claim").

          4
          The "Retiree Plaintiffs" are certain individual retiree plaintiffs of The Times Mirror Company, Tribune
and/or one or more of 1 l0 affiliates or subsidiaries of Tribune.
          5
            Deutsche Bank Trust Company Americas, in its capacity as successor indenture trustee for a certain series
of Senior Notes issued by Tribune ("DBTCA"), Delaware Trust Company, in its capacity as successor trustee-in-
interest to Law Debenture Trust Company of New York for a certain series of Senior Notes issued by Tribune
("Delaware Trust"), and Wilmington Trust Company, in its capacity as successor indenture trustee for a certain
series of Exchangeable Subordinated Debentures issued by Tribune and commonly referred to as the PHONES
Notes ("Wilmington Trust" and together with DBTCA and Delaware Trust, the "Noteholder Plaintiffs").
          6
              The status of the Creditor Complaints is described more fully under Section B below.


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          9.           Following transfer to the District Court, the Settling Defendants filed pre-answer

motions to dismiss addressed to many of the claims against them, which were fully briefed by

mid-2014.           See Phase   Two Motion Protocol, Apr.24,2014IMDL D.I. 56961.

          10.          On December 1, 2018,the FitzSimons Action was reassigned from the Honorable

Richard J. Sullivan to the Honorable Denise L. Cote.               ,See   Order IMDL D.L 7658]. On January

23,2019, Judge Cote ruled on the Settling Defendants'pre-answer motions to dismiss and

ordered the parties to engage in mediation. See Order IMDL                  DJ   7739].

          A. The Claims Subject to the Settlement Agreement
          I    l.      The claims in the FitzSimons Action and the Tag-Along Actions all arise out            of

Tribune's 2007 LBO and subsequent bankruptcy. The claims subject to the Settlement

Agreement include claims against certain cument and former Tribune offrcers, directors,

employees, subsidiary officers, directors and employees, as well as certain entities with which

Sam Zell is aff,iliated and that were involved in the LBO (the              "Zell Entit)¡ Defendants") for:   (l)
breaches of fiduciary duty, aiding and abetting breaches of fiduciary duty and improper dividend

                                                 7;
claims (the "Fid                                      (2) recovery of payments made to various Settling

Defendants and Settling Defendant Related Personss in respect of their Tribune shares (the

"LBO Proceeds") that the Litigation Trustee alleged were fraudulent conveyances (the "LBO

Clawback Claims")e; (3) recovery of certain incentive payments received by various Settling

Defendants that the Litigation Trustee alleged were preference payments or constructive or actual

fraudulent conveyances (the "Incentive Payment Claims")'o; (4) unjust enrichment against



          7
              See   FitzSimons 5AC,Counts   2,3,4,5,6,72,    13.
          8
              As defined in the Settlement Agreement.
          e
              See   FitzSimons S{C,Counts 1,7.
          t0
          See Fitzsimons 5AC Counts 34,35; Kirschner v. Berlamino, l3-cv-03741 (S.D.N.Y. 2013); Kirschner           v.
Ehlmann, l3-cv-03743 (S.D.N.Y. 2013); Kirschner v. Giannini, 13-cv-03748 (S.D.N.Y. 2013); Kirschner v.

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vadous Settling Defendants (the "Unjust Enrichment Claims")"; (5) veil piercinglalter ego,

preference, and other miscellaneous claims against Zell andthe Zell Entity Defendants ("Zell

Claims")|2; and (6) avoidance, disallowance, and/or subordination of the D&O Tribune Claims

and EGI-TRB Claim (the "Disallowance Claims")r3.

          12.         The Fiduciary Duty Claims, LBO Clawback Claims, Incentive Payment Claims,

Unjust Enrichment Claims, Zell Claims, the Disallowance Claims, the D&O Tribune Claims and

the EGI-TRB Claim are collectively refened to herein as the "Settled Claims".

          13.         The Fiduciary Duty Claims asserted against each Settling Defendant exceed the

$5,000,000 threshold and therefore settlement requires this court's approval. Plan $$ 13.3.3.

With respect to eleven (11) of the individual defendants, the LBO Clawback Claims, the

Incentive Payment Claims and the Unjust Enrichment Claims also exceed the $5,000,000

threshold and settlement requires approval.la In the aggregate for all of the Settling Defendants,

the LBO Clawback Claims seek $99,522,379 of LBO Proceeds, before consideration of pre-

judgment interest.

          14.         Certain of the Fiduciary Duty Claims and Unjust Enrichment Claims were

dismissed by Judge Cote's January 23,2019 decision. Se¿ Order IMDL DJ. 77381. A portion                             of

the Incentive Payment Claims were dismissed by Judge Sullivan's November 30,2018 decision.

See   Decision [MDL D.1.76591.




Hendriclrs, 13-cv-03751 (S.D.N.Y. 2013); Kirschner v. Knapp, l3-cv-03750 (S.D.N.Y. 2013); Kirschner v. Litman,
l3-cv-03736 (S.D.N.Y. 2013); Kirschner v. Mazzøferri, 13-cv-03753 (S.D.N.Y. 2013); Kirschner v. Peørson, l3-cv-
03745 (S.D.N .Y . 2013); Kirschner v. Poelking, l3-cv-03744 (S.D.N.Y. 2013); Kirschner v. Sewell, l3-cv-03737
(S.D.N.Y. 2013); Kirschner v. Shanahan,13-cv-03739 (S.D.N.Y. 2013); Kirschner v. Ll/eitman,l3-cv-03740
(s.D.N.Y.20r3).
         11
              See   FitzSimons 5AC Count 31.
         t2
              See   FitzSimons 5AC Counts 8,9, 10, 11,32.
         t3
              See   FitzSimons 5AC Counts 33,36.
         la
              The individual defendants in this category are denoted with an asterisk on the attached Schedule B.


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          15.      The LBO Clawback Claims in Count 1 of the FitzSimons complaint were

dismissed by the District Court on January 6,2017. See Order IMDL D.I.69241. The District

Court has not entered          a   judgment in respect of any of the dismissed claims, and the Litigation

Trustee's time to appeal from such dismissals has not begun to run. See Fed. R. Civ. P. 54(b).

          16.      When fhe FitzSimor¿s Action was filed, the Committee did not initially assert

claims under 1 1 U.S.C. $ 5a8(a)0XB), as the Third Circuit's then-curent interpretation of                   11


U.S.C. $ 5a6(e) would bar such claims. OnApril 4,2019, the Litigation Trustee moved to

amend his complaint to include claims to avoid and recover LBO Proceeds under $ 5a8(aXlXB).

IMDL    D .1. 7 817 -19]   .   Judge Cote denied that motion on     April   23   , 2019 . IMDL D.I. 791 7] . The

Litigation Trustee intends to appeal this order, along with other prior dismissals.

         B.   The Creditor Complaints

          17.      In addition to the LBO Clawback Claims brought by the Litigation Trustee, the

Creditor Claimants filed the Creditor Complaints-state-law constructive fraudulent transfer

complaints seeking to recover LBO Proceeds against several thousand defendants, including

from the majority of the Settling Defendants and Settling Defendant Related Persons. On

September 23,2013, the District Court dismissed these claims on standing grounds. In re

Tribune Co. Fraudulent Conveyance Litig.,499 B.R. 310 (S.D.N.Y. 2013). On appeal, the

Second Circuit held that these claims were instead barred on the basis of preemption by                 11


U.S.C. $ 5a6(e). In re Tribune Co. Fraudulent Conveyance Litig., 818 F.3d 98 (2d Cir. 2016).

The plaintiffs petitioned for certiorari and the case remained pending atthat stage for more than

one year. Thereafter, in light of the decision, Merit Mgmt. Grp., LP v. FTI Consulting,                Inc.,l38

S. Ct. 883 (2018), the Supreme Court issued a statement suggesting that                 "[t]he Court ofAppeals

or the District Court could decide whether relief from judgment is appropri ate." Deutsche Bank




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Tr. Co. Ams. v. Robert R. McCormick           Found.,138 S. Ct.1162 (2018). On May 15, 2018, the

Second Circuit recalled the mandate in the case. See Order             IMDL D.I.74331. The appeal is

presently with the Second Circuit.

          C. The Mediation

          18.          In accordance with the District Court's order,ls the Litigation Trustee and the

Creditor Claimants (collectively, the "Plaintiffs"), the Settling Defendants, and D&O Insurersr6

(collectively the "Settling Parties") engaged in a mediation in person before Stephen M.

Greenberg, a managing member of Pilgrim Mediation Group,                  LLC. This     process included

exchanging detailed mediation statements and participating in oral presentations, in-person

meetings and mediation sessions on March 13, 15, 18, 19, 20, and2I,2019 and continued

mediation with the mediator by phone on March 22,2019 (collectively, the "Mediation").17 See

Zensky Decl. fl 3.

          19.          The Mediation was a vigorous, arm's-length process. Though the Plaintiffs

initially considered negotiating separately with different groups of defendants, ultimately the

mediator and all parties agreed to negotiate for a global settlement to resolve all of the Plaintifß'

claims against the Settling Defendants collectively. See id. fl 4. The Settling Parties reached

agreement on a settlement term sheet on March 26,2019, and thereafter executed the Settlement

Agreement.

          20.          In order to reach a complete settlement with the Settling Defendants, the Creditor

Claimants participated in the Mediation and agreed to provide releases to the Settling



          rs
                     [MDL D.l. 77391@rdering parties to engage in mediation).
               See Order

          'u The "D&O Insurers" are those insurers listed in Schedule 3 to the Settlement Agreement.   ,See   Settlement
Agreement, Schedule 3.
          tt
           The Plaintiffs also separately engaged in a mediation with a number of the shareholder defendants. That
mediation has now concluded.

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Defendants, whom they sued to recover LBO Proceeds, in exchange for a portion of the

Settlement Payment (as defined herein).

                                           RELIEF REOUESTED

          21.       The Litigation Trustee believes that the Settlement Agreement is in the best

interests of the Litigation Trust beneficiaries, and respectfully requests that the Court enter an

order substantially in the form appended hereto approving the Settlement Agreement.

                    D. The Settlement Agreement

          22.       The Settlement Agreement was entered without any admission of liability or as to

the strength or weakness of any claims or defenses. It includes the following terms, among

othersls:

                    A.     Settlement Pa)¡ment: The Settling Defendants and the D&O Insurers shall
                    pay to the Plaintiffs the aggregate sum of $200 million (the "Settlement
                    Payment"). The total Settlement Payment is significantly in excess of the
                    available insurance.

                    B.      Mutual Releases: Upon receipt of the Settlement Payment in full, the
                    Settling Parties release each other from all claims that have been or could have
                    been brought by Tribune or anyone suing derivatively on its behalf, as well as all
                    claims that could have been brought against Tribune. This includes the
                    withdrawal of the D&O Tribune Claims and the EGI-TRB Claim, as well as a
                    release of the claims brought by the Creditor Claimants to recover LBO Proceeds.

                    C.      Settling Defendant Cooperation with Future Depositions: The Settling
                    Defendants agree that should their depositions be requested in connection with
                    any non-settled claims they authorize their counsel to accept service of a
                    subpoena, will provide truthful testimony, and will make reasonable efforts to
                    cooperate in scheduling such deposition to last up to one full day in length. The
                    Settling Parties agree to meet and confer if Plaintifß or any defendants contend a
                    second day is reasonably needed for such deposition.

                    D.      Bar Order: The Settlement Agreement requires that the parties obtain a bar
                    order (the "Bar Order") for the protection of the Settling Defendants from any
                    claim for non-contractual indemnity or contribution by any person who is a non-


          't The following summary of terms is merely a summary and not intended to be binding on the parties or to
add, subtract, or stand in place of the Settlement Agreement in any way, and in the event of any alleged
inconsistency, the Settlement Agreement shall control.


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                    settling defendant based on the continued assertion of any claim by the Plaintiffs
                    against such non-settling defendant arising out of the LBO. A proposed Bar Order
                    is attached to the Settlement Agreement as Exhibit B, and will be sought from the
                    United States District Court for the Southern District of New York, as that Court
                    presently has jurisdiction over the claims being settled.

         23.        The Settlement Agreement contains additional provisions related to the

exhaustion of the Tribune D&O Tower.re It provides apartialrelease to additional persons            (if
any) who are not Settling Defendants but who are Insured Parties as defined by the primary

D&O policy (the "D&O Polic)"'), solely for claims against any such person in a capacity that

would have been covered by the D&O Polic¡ including former Tribune directors V/illiam

Stinehart Jr., Roger Goodan and Jeffrey Chandler (the "Chandler Directors"). See Settlement

Agreement fl 3(a)(iii). The District Court previously dismissed the Litigation Trustee's claims

against the Chandler Directors, and they did not participate in the Mediation, nor are they

making any contribution to the Settlement Payment. The Settlement Agreement releases the

Chandler Directors to the extent they would have been covered by the D&O Policy, but the

Chandler Directors are not released from any of the Litigation Trustee's claims to the extent that

they are covered by (a) insurance other than the Tribune D&O Tower and/or (b) indemnification

rights (other than the alleged obligations of the Litigation Trustee), or from any claims seeking to

recover LBO Proceeds they or any of their affrliated persons or entities may have received. Id.

flfl 3(a)(iii), 3(c).

         24.        The Settlement Agreement also lists numerous other parties that are not released

by the Plaintiffs in any respect, including certain former shareholders and former legal, financial,

and other advisors to Tribune. See id.         lT   3(c). The Settlement Agreement also excludes from the

releases any claim seeking to recover LBO Proceeds against parties that were named in the

Creditor Complaints, Count 1 of the FitzSimons Action or would have been named in Count 1-4,
         re
              As defined in the Settlement Agreement.

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1-B or 1-C of the proposed sixth amended complaint in the FitzSimons Action (other than the

Settling Defendants and the Settling Defendant Related Persons listed on a schedule to the

Settlement Agreement). See id.

                                        BASIS FOR RE,LIEF REQUESTED

          E.               Approval of the SettlementAgreement

          25.              The Court has discretion to approve settlements after notice and a hearing. See

Myers v. Martin (In re Martin),            9l   F.3d 389, 394 8. n.2 (3d Cir. 1996). The procedure for

approving a settlement in bankruptcy is set forth by Bankruptcy Rule 9019, which provides, in

relevant part:

            On motion by the trustee and after notice and a hearing, the court may approve a
            compromise or settlement. Notice shall be given to creditors, the United States
            trustee, the debtor, and indenture trustees as provided in Rule 2002 and to any other
            entity as the couft may direct.

Fed. R. Bankr. P. 9019(a).

          26.          In determining whether to approve a settlement pursuant to Rule 9019, a

bankruptcy court is required to "assess and balance the value of the claim that is being

compromised against the value to the estate of the acceptance of the compromise proposal."

Martin,91 F.3d at393. Bankruptcy courts consider four criteria in applying this balancing test:

"( 1 ) the probability of success in litigation; (2) the likely diffrculties in collection; (3) the

complexity of the litigation involved, and the expense, inconvenience and delay necessarily

attending it; and (4) the paramount interest of the creditors." Id. (citing Protective Comm.             for
Indep. Stockholders of TMT Trailer Feruy, Inc. v, Anderson,390 U.S. 414,424-25 (1968)); In re

Northwestern Corp., No. 03-12872,2008WL270434I, at*6 (Bankr. D. Del. July 10, 2008).

(applying this test). Ultimately, the court's determination assesses whether the compromise

embodied in the settlement "is fair, reasonable, and in the interest of the estate." In re Louiseb,


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Inc.,2ll    B.R. 798, 801 (D. Del. 1977). However, the Court "need not decide the numerous

questions of law or fact raised by litigation, but rather should canvas the issues to determine

whether the settlement falls above the lowest point in the range of reasonableness." In re

Capmark Fin. Grp. Inc., 438 B.R. 471, 515 (Bankr. D. Del. 2010). Ultimately, "the court does

not have to be convinced that the settlement is the best possible compromise." In re World

HealthAlts., Lnc.,344 B.R. 291,296 (Bankr. D. Del. 2006) (internal citations omitted).

         27.       Here, the Plan does not specify what standard the Court should use in determining

whether to authorize the Litigation Trustee to settle a claim where the stated amount is in excess

of $5,000,000;rather it simply requires Bankruptcy Court authority. SeePlan $ 13.3.3. The

Litigation Trustee has previously entered into two other settlements that also required

Bankruptcy Court approval due to the size of the claims settled; in each case Judge Kevin        J.


Carey, who was presiding over these bankruptcy cases at the time, approved the settlements. Se¿

Bankr. DJ. 1 4262, 14394.

         28.       Here, the Settlement Agreement clearly meets whatever burden this Court would

impose. The Settlement Agreement was reached after years of litigation and interlocutory

rulings on two motions to dismiss, and came as a result of hard-fought multiday Mediation with

numerous parlies and experienced counsel. The Mediation was led by a skilled and experienced

mediator, and involved the exchange of significant briefing on the pafties' factual and legal

arguments. The Settlement Agreement requires a very substantial payment of $200 million,

comprising the balance of available D&O Insurance and individual payments by Settling

Defendants. Settlement Agreement fl 2. The Settlement Agreement was ultimately approved by

not only the Litigation Trustee, but also the Retiree and Noteholder Plaintifß (insofar as they too

are releasing claims), and the   Litigation Trust Advisory Board   as required   by the Plan $13.3.3.



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          29.          The complexity, expense, and inconvenience of further litigation counsel in favor

of settlement of the Settled Claims. Continued litigation respecting the Settled Claims would

inevitably entail substantial additional professional costs to the Litigation Trust, as well as

require a significant commitment of time and resources on the part of the Litigation Trust and

counsel and expert witnesses for the Trust. Indeed, in the event the Mediation was unsuccessful

the parties were entering a phase of the litigation that would include up to 40 depositions. See

MDL D.I.7771. And because these claims concern questions of individual liability of           a large

number of defendants, their litigation would require substantial additional discovery and fact

development for each Settling Defendant. Absent the pending settlement, it is likely that

adjudicating these claims will require significant time, effoft, and expense. Further, future

litigation could potentially deplete the remaining insurance funds available to settle these claims,

making any judgment won attrial challenging to collect. The compromise embodied in the

Settlement Agreement eliminates the challenges associated with these individualized findings            of

fact and collections, and enhances the ability of the Litigation Trustee to focus on the other

significant claims in the litigation.

          30.          Courts generally defer to a trustee's business judgment where there is a

legitimate business justification for the trustee's decision. Martin,9l F.3d at395; see also

In re Still,444 B.R. 520,523 (Bankr. E.D. Pa. 2010). Here, the Litigation Trustee, Marc                 S.


Kirschner, has substantial experience dealing with complex litigations such as the claims

against the Settling Defendants. Mr. Kirschner is currently Senior Managing Director              of

Goldin Associates LLC, a restructuring f,rrm specializing in financial advisory interim

management, litigation support, strategic valuation, govenìance, independent monitoring,

and fiduciary services.



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         31.             Mr. Kirschner spent most of his 5O-year career as an attorney in private

practice and financial advisor specializing in bankruptcy and reorganization, with a heavy

emphasis on complex bankruptcy litigation. From 1987 through January 25,200I, he was

the head of the Bankruptcy and Restructuring Practice, and from January l,1997,the

Business Practice Group, in the New York office of the global law f,irm Jones Day. In

addition to serving as Litigation Trustee for the Tribune Litigation Trust, Mr. Kirschner also

was the Liquidation Trustee for the SNTL Litigation Trust (formerly, Superior National

Insurance Group), in Los Angeles, and the Le-Nature's Liquidation Trust in the Western

District of Pennsylvania, was the Chapter           11 Trustee   for Refco Capital Markets, the largest

affiliate of Refco, Inc., and one of the largest cases ever where a Chapter          11 Trustee was

appointed. Mr. Kirschner is currently the Litigation Trustee and Plan Administrator for

matters arising post-confirmation from the Refco Inc. bankruptcy in New York, and the

Litigation Trustee for the Millennium Health Corporate Claim Trust and Lender Claim Trust

recently formed under the plan of reorganization of Millennium Health LLC in Delaware,

and the Litigation Trustee of the NWHI Litigation Trust under the plan of reorganization              of

Nine'West Holdings, Inc., in New York.

         32.         The Settlement Agreement is the product of arm's-length negotiations between the

parties that took place over the course of eight days of intense negotiations and mediation, during

which the parties put forth facts, assertions, and legal analyses in support of their opposing

positions. Prior to and throughout the negotiations, the Litigation Trustee carefully evaluated

the strengths and risks associated with holding out for a greater settlement or continuing the

litigation, and was advised by able counsel, who were fully versed in the complex factual and

legal issues involved in the dispute. The end result of the negotiations is a compromise that the



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Litigation Trustee believes, in his business judgment, is fair and reasonable and should be

approved by the Court

                                            NO PRIOR REQUEST

         33.       No previous request for the relief requested in this Motion has been made in this

or any court.

                                                    NOTICE

         34.       Notice of this Motion has been provided to (i) the United States Trustee; (ii) the

Reorganized Debtors; (iii) the Indenture Trustees; (iv) the Settling Defendants; and (v) all other

parties entitled to receive notice in these chapter 11 cases pursuant to Bankruptcy Rule 2002. ln

light of the nature of the relief requested, the Litigation Trustee submits that no further notice

need be given.

         WHEREFORE, the Litigation Trustee respectfully requests that the Court enter an order,

in the form submitted herewith, authorizingthe Litigation Trustee to enter into the Settlement

Agreement, and granting such other and further relief as the Court may deem just and proper.

Dated: May 31,2019                                                                 &          LLP
V/ilmington, Delaware


                                                                 J       Green Jr     o.
                                                                 919 Market Street, Suite 1800
                                                                 Wilmington, DE 19801
                                                                 Telephone: (302) 467 -4400
                                                                 Facsimile: (302) 467 -4450
                                                                 Email : cobb@lrclaw.com
                                                                         green@lrclaw.com


                                                                 -and-




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                                                       & FELD LLP
                                                       David M. Zensky
                                                       Mitchell Hurley
                                                       One Bryant Park
                                                       New York, New York
                                                       Telephone : (212) 87 2-1000

                                                       Counsel to the Litigation Trustee




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                                        SCHEDULE ATO APPROVAL MOTION

                                                        RELÄTED MATTERS



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                          *
 r3-cv-3736 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust v. Brian F. Litman

 l3-cv-3737 (DLC)             Marc S. Kirschner, as Litigation Trustee for the'Iribune Litigation Trust v. Irene M.F. Sewell

 r3-cv-3739 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust v. Patrick Shanahan

 r3-cv-3740 (DLC)             Marc S. Kirschner', as Litigation Trustee for the Tribune l-itigation Trust with respect to Preserved
                              Causes of Action v. Gary Weitman


 r3-cv-3741 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust v. Betty Ellen Berlamino

 13-CV-3743 (DLC)             Malc   S. Kirschner, as   Litigation Trustee for the Tribune Litigation Trust v. Tom E. Ehlmann

 13-CV-3744 (DLC)             Marc S. Kirschner, as Litigation'Irustee for the Tribune Litigation Trust v. John F. Poelking

 13-CV-3745 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust with respect to Preserved
                              Causes of Action v. Pamela S. Pearson


 r3-cv-3748 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust with respect to Preserved
                              Causes of Action v. Vincent R. Giannini


 13-CV-3750 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust v. Peter A. Knapp

 13-CV-3751 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune I-itigation Trust v. John R. Hendricks

 r3-cv-3753 (DLC)             Marc S. Kirschner, as Litigation Trustee for the Tribune Litigation Trust v. Gina M. Mazzaferri




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                             SCHEDULE B TO APPROVAL MOTION

                                     SETTLING DEFENDANTS'




         I
         The asterisk denotes the individual defendants for whom the LBO Clawback Claims, the Incentive
Payment Claims and/or the Unjust Enrichment Claims exceed the threshold for which settlement requires
Bankruptcy Court approval.

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Betsy D. Holden                                 Joseph Leonard

Betty Ellen Berlamino                           Kathleen M. Waltz
Brian F. Litman                                 Luis E. Lewin*
Chandler Bigelow                                Mark'W. Hianik
Crane H. Kenney                                 Miles D. V/hite
Daniel G.Kazan                                  Pamela S. Pearson

David D. Williams                               Patrick Shanahan
David Dean Hiller*                              Peter A. Knapp

Dennis J. FitzSimons*                           R. Mark Mallory*

Donald C. Grenesko*                             Richard H. Malone
Dudley S. Taft                                  Robert E. Bellack

EGI-TRB, LLC                                    Robert Gremillion

Enrique Hernandez Jr.                           Robert S. Morrison
Equity Group Investments, LLC                   Ruthellyn Musil
Gary'Weitman                                    Sam Investment Trust

Gerald W. Agema                                 Samuel Zell

Gina M. Mazzafeni                               Scott C. Smith*

Harry Amsden                                    Stephen D. Carver

Irene M.F. Sewell                               Thomas D. Leach*

Irving L. Quimby                                Thomas S. Finke

J. Christopher Reyes                            Timothy J. Landon*
John D. V/orthington   IV                       Timothy P. Knight*
John E. Reardon*                                Tom E. Ehlmann

John F. Poelking                                Vincent R. Giannini
John J. Vitanovec*                              WilliamA. Osborn
John R. Hendricks




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